             IN THE DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                              1:12 cr 20-1


UNITED STATES OF AMERICA,                      )
                                               )
Vs.                                            )             ORDER
                                               )
AVERY TED “BUCK” CASHION, III,                 )
                                               )
                 Defendant.                    )
__________________________________             )


       THIS MATTER has come before the court pursuant to a Motion to Amend

Conditions of Pretrial Release (#76) filed by counsel for defendant. It appeared to the

Court at the call of this matter on for hearing that defendant was present with his

counsel Sean P. Devereux and the government was present and represented through

Assistant United States Attorney David Thorneloe. After hearing arguments from

counsel for defendant and arguments from the government concerning the matters in

dispute, the undersigned has determined to enter an order allowing the motion (#76).

The reasons for the granting of the motion are as set forth on the record in this matter.

                                       ORDER

       IT IS, THEREFORE, ORDERED that the Motion to Amend Conditions of

Pretrial Release (#76) is hereby ALLOWED and the conditions of the pretrial release

of defendant are amended as set forth in the Amended Order (#83) filed in this matter.




      Case 1:12-cr-00020-MR-SCR       Document 86     Filed 08/22/12    Page 1 of 2
                                Signed: August 22, 2012




                                2



Case 1:12-cr-00020-MR-SCR   Document 86    Filed 08/22/12   Page 2 of 2
